Case: 1:17-md-02804-DAP Doc #: 3555-37 Filed: 11/13/20 1 of 8. PageID #: 505896




                       EXHIBIT H
Case: 1:17-md-02804-DAP Doc #: 3555-37 Filed: 11/13/20 2 of 8. PageID #: 505897
Case: 1:17-md-02804-DAP Doc #: 3555-37 Filed: 11/13/20 3 of 8. PageID #: 505898
Case: 1:17-md-02804-DAP Doc #: 3555-37 Filed: 11/13/20 4 of 8. PageID #: 505899
Case: 1:17-md-02804-DAP Doc #: 3555-37 Filed: 11/13/20 5 of 8. PageID #: 505900
Case: 1:17-md-02804-DAP Doc #: 3555-37 Filed: 11/13/20 6 of 8. PageID #: 505901
Case: 1:17-md-02804-DAP Doc #: 3555-37 Filed: 11/13/20 7 of 8. PageID #: 505902
Case: 1:17-md-02804-DAP Doc #: 3555-37 Filed: 11/13/20 8 of 8. PageID #: 505903
